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February 13, 2024

Honorable Amit P. Mehta
U.S. District Court Judge
333 Constitution Ave., N. W.
Washington, D.C. 20001

Re: United States v. Thomas E. Caldwell, 22-APM-15
(Second update as to medical records and I.M.E.)

Your Honer:

At a status conference held on December 20, 2023, the Court requested that undersigned
counsel provide an update as to progress: 1) in obtaining up-to-date medical records; and, 2) in
procuring an Independent Medical I:xamination (IME) for Mr. Caldwell. On January 31, 2024,
the Court granted undersigned counsel’s request to submit a second update today.

Undersigned counsel reccived the last outstanding set of medical records for Mr.
Caldwell on Friday, which has been forwarded to the defense’s medical expert. The defense
medical expert requires 10 to 14 more days to complete her IME.

Accordingly, the defense requests that it be permitted until on or before February 26,
2024 to submit a final update addressing this matter. Undersigned counsel is confident that a
sentencing date certain can be scheduled following the submission of this final update.
Government counsel, Assistant U.S. Attorney Kathryn Rakoczy, has no opposition to this
request.

Thank you for your consideration.

